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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                  Criminal No. 07-439(8) JNE


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )       ORDER
               v.                             )
                                              )
TOBYOUS TYDES DAVENPORT,                      )
                                              )
                       Defendant.             )


       Defendant, Tobyous Tydes Davenport has moved, pursuant to 18 U.S.C. § 3582(c), for a

sentencing reduction under the revised and retroactive amendments to the United States

Sentencing Guidelines applicable to crack cocaine cases. Based on a review of the file, record

and proceedings herein,

       IT IS HEREBY ORDERED that the motion is granted. Defendant’s sentence is

amended to a period of TIME SERVED and he is ordered released from the custody of the

Bureau of Prisons no later than November 15, 2011. All other conditions previously imposed,

including the term of supervised release, remain in effect, with the addition of the following

condition. The defendant shall reside for a period of up to 180 days in a residential re-entry

center as approved by the probation officer and shall observe the rules of that facility.




Dated: November 4, 2011                               s/ Joan N. Ericksen
                                                      Joan N. Ericksen, Judge
                                                      United States District Court
